Case 2:O4-cV-O2667-.]DB-tmp Document 52 Filed 05/10/05 Page 1 of 2 Page|D 62

IN THE UNITED STATES DISTRICT COURT FHEDEFF llc
FOR THE WESTERN DISTRICT OF TENNESSEE `“"
WESTERN DIVISION USH§YIU PH 3:3{

 

 

EDGAR MCDANIEL,
Plaintiff,
VS.

Civ. NO. 04-2667-B[P

AMERICAN GENERAL FINANCIAL
SERVICES, INC., et al.,

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Defendants.

 

REPORT AND RECOMMENDATION ON DEFENDANT'S MOTION FOR CONTEMPT

 

Before the court is Defendant‘s Motion for Contempt, filed
March 16, 2005 (dkt #33). The motion was referred to the
Magistrate Judge for report and recommendation. The court set a
hearing on Defendant's motion for May l2, 2005. On May 6, 2005,
the Defendant filed 51 notice of withdrawal of its motion. for
contempt. Therefore, it is recommended that the motion be DENIED
as moot.

Respectfully bmitted
§2£¢~___*_

TI.`I' M'. PHAM‘ '

United States Magistrate Judge

§/7/05“

Datec '

 

ANY OBJECTIONS OR EXCEPTIONS TO THIS REPORT MUST BE FILED WITHIN
TEN (lO) DAYS AFTER NBEING SERVED WITH A COPY OF THE REPORT. 28
U.S.C. § 636(b)(l)(C). FAILURE TO FILE THEM WITHIN TEN (lO) DAYS
MAY CONSTITUTE A WAIVER OF OBJECTIONS, EXCEPTIONS, AND ANY FURTHER
APPEAL.

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with ma 58 and/or ra(a) FHCP an ""z 'Z(Q 11 5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CV-02667 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

